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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                          Criminal Action No. PX-22-440
 NADAR POURHASSAN, et al., ,

        Defendants.


                            PRETRIAL SCHEDULING ORDER

        For the reasons stated during the today’s status conference, and with agreement of the
parties, the Court issues the following pretrial deadlines:

       July 25, 2023                    Defendants to supplement/add motions            to
                                        suppress and other pretrial motions

       August 15, 2023                  Government’s Omnibus Response due

       August 29, 2023                  Replies due

       September 26, 2023, 1:00 p.m. Motions Hearing

       February 19, 2024                Motions in Limine due

       March 4, 2024                    Responses to Motions in Limine; Joint Voir Dire,
                                        Jury Instructions and Verdict sheet to be filed
                                        electronically and submitted via email in
                                        Microsoft Word format to chambers:
                                        Mdd_pxchambers@mdd.uscourts.gov

                                         (Government responsible for filing; Defendants
                                        to indicate proposed changes in redline format.)

                                        Government to provide Jencks and Giglio to
                                        Defendants

       March 11, 2024 at 10:00 a.m.     Pre-trial Conference/Hearing on Motions in
                                        Limine/voir dire and jury instructions

       March 25, 2024                   Trial begins. Expected length: 10 days
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Dated: May 23, 2023                            /S/
                                  Paula Xinis
                                  United States District Judge




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